Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 1 of 21




                     COMPOSITE
                      EXHIBIT 5
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 2 of 21




    Doe Number:            778
    Marketplace:           Other
    Merchant Name:         glossarye
    Seller ID:             glossarye.com
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 3 of 21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 4 of 21




    Doe Number:            780
    Marketplace:           Other
    Merchant Name:         gorgeifous
    Seller ID:             gorgeifous.com
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 5 of 21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 6 of 21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 7 of 21




    Doe Number:            831
    Marketplace:           Other
    Merchant Name:         moonlightooze
    Seller ID:             moonlightooze.com
-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 9 of 21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 10 of
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 11 of
                                      21
          Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 9/23/23,
for lawsuit - customer sharing info                                                    12 of 2:49 AM
                                                21
 for lawsuit - customer sharing info
 From: Hello <hello@striphair.com>
 Sent: Sun, Mar 19, 2023 at 10:40 am
 To:   Betty's Best



 -----Original Message-----
 From: "StripHair (Shopify)" <mailer@shopify.com>
 Sent: Wednesday, March 15, 2023 12:40am
 To: wecare@striphair.com
 Subject: New customer message on March 15, 2023 at 12:40 am




                                                                               You received a new message from your online store's
                                                                               contact form.


                                                                               Country Code:
                                                                               US

                                                                               Contact Form Name:
                                                                               SANDY DAVIS

                                                                               Email:
                                                                               stargazinalaska@gmail.com

                                                                               Body:
                                                                               Hi. I bought this a few years ago, love it, even gave a couple away
                                                                               as gifts. I'm recently seeing this on FB,
                                                                               "https://www.moonlightooze.com/products/6-in-1-shedding-
                                                                               grooming-massage-brush" ~ is this your company or someone
                                                                               that is copy-catting you? They're using the same horse and
                                                                               woman on their packaging (at least on line anyway)

                                                                               Thanks,
                                                                               Sandy




https://apps.rackspace.com/versions/webmail/19.0.24-RC/popup.ph…93eb9e67bbd67d6f-50aaf01880194522971033e3faa22663#1695451724263                      Page 1 of 1
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 13 of
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 14 of
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 15 of
                                      21



   Doe Number:            912
   Marketplace:           Other
   Merchant Name:         embravewise
   Seller ID:             embravewise.com
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 16 of
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 17 of
                                      21



   Doe Number:            916
   Marketplace:           Other
   Merchant Name:         inputependa
   Seller ID:             www.inputependa.com
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023
                                      21
Case 1:23-cv-22322-DSL Document 130-9 Entered on FLSD Docket 10/14/2023 Page 21 of
                                      21
